                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

   UNITED STATES OF AMERICA                   )
                                              )
                                              )    Criminal Case 4:18-cr-00012
   V.                                         )
                                              )
   DASHAWN ANTHONY ET AL                      )


                                  NOTICE OF WITHDRAWAL


         Matthew M. Miller, Assistant United States Attorney, for the Western District of

  Virginia, hereby notes his withdrawal as counsel in this case for the United States of America.


                                               Respectfully submitted,

                                               THOMAS T. CULLEN
                                               United States Attorney

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 27, 2019, I electronically filed the Notice of Withdrawal

  with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

  to counsel of record.

                                               s/ Matthew M. Miller
                                               Assistant United States Attorney




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